     Case 2:14-cv-02093-KJM-KJN Document 100 Filed 09/04/20 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    EDWARD BORELLI, CHRISTIANA                          No. 2:14-cv-2093-KJM-KJN
      PITASSI, and JAMES MUNIZ,
12    individually, and on behalf of all others
      similarly situated,
13                                                        ORDER
                          Plaintiffs,
14
              v.
15
      BLACK DIAMOND AGGREGATES,
16    INC., and BASIC RESOURCES INC.,
17                        Defendants.
18

19                  Plaintiffs moved the court for an order substituting Lynett Ann Muniz as personal

20   representative of the Estate of James Lynden Muniz in place of plaintiff “James Muniz” in this

21   matter. Mot. to Substitute Pl., ECF No. 89.

22                  The court, having fully reviewed plaintiffs’ motion, the supporting points and

23   authorities filed in support thereof, and any order of the Stanislaus County Superior Court with

24   respect to the request of Lynett Ann Muniz for letters testamentary in RE Case No.: PR-20-00043, see

25   Second Supp. Sohnen Decl., ECF No. 99, hereby grants plaintiffs’ motion for an order substituting

26   “Lynett Ann Muniz as personal representative of the Estate of James Lynden Muniz” in place of

27   plaintiff “James Muniz” in this matter, so that decedent’s claims survive, and the action on his behalf

28   may proceed.
                                                         1
     Case 2:14-cv-02093-KJM-KJN Document 100 Filed 09/04/20 Page 2 of 2


 1         IT IS SO ORDERED

 2   DATED: September 4, 2020.

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